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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                   (Roanoke Division)

 RILEY AMORE and                                   )
 CAROLINE PARKER,                                  )
                                                   )
         Plaintiffs,                               )
                                                   )
 v.                                                )    Case No.: 7:25-CV-00229
                                                   )
 AMERICAN ASSOCIATION OF                           )
 VETERINARY CLINICIANS, ET AL.,                    )
                                                   )
         Defendants.                               )
                                                   )

                                           ORDER

        Upon consideration of the Motion for Pro Hac Vice Admission of Christopher R. Brennan,

filed by Elizabeth V. Husebo on behalf of Defendant MedVet Associates, LLC, it is hereby

ORDERED that Christopher R. Brennan is admitted to appear pro hac vice in this action as counsel

for Defendant MedVet Associates, LLC.

        Entered this _______ day of May ____, 2025.




                                                       United States District Court Judge




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